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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MONTANA
                        MISSOULA DIVISION


TANYA GERSH,

                             Plaintiff,
                                            Case No. 9:17-cv-00050-DLC-KLD
                    v.
                                            PLAINTIFF’S NOTICE OF
ANDREW ANGLIN,                              SUBMITTAL

                             Defendant.
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              Plaintiff Tanya Gersh hereby provides notice to the Court that the

time period for the parties to submit any objections to the Findings &

Recommendations entered by Magistrate Judge Kathleen L. DeSoto on May 11,

2022 has expired, making the Findings & Recommendations ripe for an order by

District Dana L. Judge Christensen. As set forth in detail below, Judge DeSoto’s

May 11, 2022 Findings & Recommendations granted Plaintiff’s Motion to Hold

Defendant Andrew Anglin in Contempt of This Court’s February 7, 2022 Order

and to Enforce Discovery Pursuant to That Order. (ECF 254 at 14–15.) The

Findings & Recommendations recommended that the Court provide Anglin with

30 days to purge himself of contempt by complying with the Court’s February 7,

2022 order, and that the Court issue a bench warrant for Defendant’s apprehension

if he fails to do so. (Id.)

              On August 8, 2019, this Court entered a default judgment against

Defendant on state law claims for invasion of privacy, intentional infliction of

emotional distress, and violations of Montana’s Anti-Intimidation Act as a result of

his online anti-Semitic harassment and intimidation campaign against Plaintiff and

her family through his website, the Daily Stormer. (ECF 211, 215.) The judgment

ordered that Defendant pay compensatory damages in the amount of $4,042,438

and punitive damages in the amount of $10,000,000. (ECF 215.) Defendant has

yet to pay any portion of the judgment entered against him.



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             On November 11, 2021, Plaintiff properly served Defendant with

post-judgment discovery requests seeking information concerning Defendant

financial assets to aid Plaintiff in obtaining information necessary for the purpose

of enforcing this Court’s judgment against Defendant for compensatory and

punitive damages. (ECF 247-1, 247-2, 249.) Defendant failed to provide any

responses to the requested post-judgment discovery or meet and confer to resolve

the discovery issues. (ECF 246 at ¶¶ 17, 18, 20; ECF 247 at 6–7.)

             On January 6, 2022, Plaintiff filed a motion to compel pursuant to

Rule 37 of the Federal Rules of Civil Procedure, seeking an order that Defendant

immediately and completely without further objection or delay respond to

Plaintiff’s post-judgment discovery requests. (ECF 246 at 6–7.) Plaintiff also

moved this Court to sanction Defendant pursuant to Rule 37(b) for his continued

lack of cooperation with discovery. (Id.)

             On February 7, 2022, this Court granted Plaintiff’s motion to compel.

(ECF 249.) The Court ordered Defendant to respond no later than March 11, 2022

to Plaintiff’s post-judgment interrogatories that sought information on Defendant’s

location, contact information, the operation of the Daily Stormer website, and

Defendant’s assets for the time period from November 1, 2016 to the date of the

Court’s order. (Id. at 10–13.) In particular, the Court ordered Defendant to

provide information and documents showing his income, expenses, assets, debts,



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securities, cryptocurrency holdings, domain name holdings, intellectual property

assets, and other ownership interests held by Defendant, as well as any

communications concerning his assets. (Id.) The Court cautioned Defendant that

if he failed to comply and also show cause why he should not be required to pay

the reasonable expenses, including attorney fees, incurred by Plaintiff in making

her motion to compel, the Court may treat the failure as contempt of court and

impose sanctions against him. (Id.) Plaintiff served Defendant with a copy of the

order and, on February 11, 2022, filed an affidavit setting forth the attorneys’ fees

incurred in connection with making the motion to compel. (ECF 251.)

             Defendant failed to comply with or otherwise respond to the Court’s

order by the March 11, 2022 deadline, or show cause why he should not be

required to pay the attorneys’ fees Plaintiff incurred in making her motion to

compel. (ECF 253-1 at ¶¶ 34–36.)

             On March 25, 2022, Plaintiff moved to hold Defendant in civil

contempt under Federal Rule of Civil Procedure 37 and the Court’s inherent

contempt power. (ECF 252.) Plaintiff’s motion and supporting declaration

provided evidence that, “even as Anglin avoids complying with court orders and

paying the judgments against him, he continues to publish on—and profit from—

the Daily Stormer, authoring vitriolic anti-Semitic posts and openly soliciting

cryptocurrency donations from his followers (even admitting his website has ‘long



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been banned from operating within the normal financial system).”) (ECF 253 at

6.) The Daily Stormer is the same website from which he launched the harassment

campaign underlying the damages award in this action. (See ECF 1.)

             On May 11, 2022, Magistrate Judge DeSoto recommended that

Plaintiff’s motion to hold Defendant in contempt of the February 7, 2022 order and

enforce discovery pursuant to that order should be granted. (ECF 254 at 14.)

Judge DeSoto recommended that “Anglin should be held in civil contempt, and

should be adjudged liable for Gersh’s attorneys’ fees and costs in the amount of

$3,507.50.” (Id.) Judge DeSoto further recommended that the Court should “give

Anglin thirty days to purge himself of contempt by complying with all the requests

for production and interrogatories as set forth in the Court’s February 7, 2022

order” and that “the Court issue a bench warrant for Anglin’s apprehension if he

fails to purge himself of the contempt within the time period specified.” (Id.

at 15.)

             On May 16, 2022, in accordance with the May 11, 2022 Findings &

Recommendations, Plaintiff filed proof with the Court that she served a copy of the

Findings & Recommendations on Defendant at each of the addresses set forth in

Plaintiff’s prior proof of service. (ECF 250, 255.)

             The May 11, 2022 Findings & Recommendations advised that the

parties had 14 days after the entry of the order within which to file objections



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thereto, or they would be waived. Neither party filed any objections. Accordingly,

Plaintiff provides notice to this Court that the Findings & Recommendations

entered on May 11, 2022 are ripe for consideration by District Judge Christensen.

            Respectfully submitted this 30th day of August, 2022.



DATED: August 30, 2022

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                          CERTIFICATE OF SERVICE

             I hereby certify that on this date the foregoing document was filed

with the clerk of the court for the United States District Court for the District of

Montana through the Court’s CM/ECF filing system, and by virtue of this filing

notice will be sent electronically to all counsel of record. I further certify that on

this date the foregoing document was served upon Defendant Andrew Anglin via

U.S. Mail at all his known mailing addresses.

DATED:       August 30, 2022
                                        /s/John M. Morrison
                                        Attorney for Plaintiff Tanya Gersh
                                        on behalf of all Attorneys for Plaintiff
